Case 2:17-cr-00684-SVW Document 4 Filed 10/27/17 Page 1 of 1 Page |D #:9

 

 

 

 

 

 

Memomndum _ "
C R'| 7- 06 84~Sw)
Subject: Date:
United States V. GEO MEDICAL CO., LTD. October 2?', 2017
and HWASUNG PAK n
'“ r'> r_ §§
To: From: h f § §
§ 1 §§ C')
KIRY K. GRAY DIANA M. KWOK : _',-'-'.._ " ;J”'
Clerlc, United States District Court Assistant United States Attorney ~_J
Central District of Califomia Criminal Division ` ` " '_1`-_" -g
'\|'( 1 :g

 

For purposes of determining Whether the above-referenced matter, being filed on Oetol§er 2'§-:
2017: i'_.-

l

(a) should be assigned to the Honorable And.ré Birotte Jr., it
|:I is
is not

a matter that Was pending in the United States Attorney’s Ofl‘iee (USAO) on or before
August 8, 2014, the date the Honorable André Birotte .lr. resigned from his position as the
United States Attorney for the Central District of Calit`ornia.

(b) should be assigned to the Honorable Miehael W. Fitzgerald, it -
|: is
is not

(1) a matter that Was pending in the 'I`errorism and Export Crimes Section in the USAO’s
National Security Division on or before August 3, 2015; (2) a matter pending in the
USAO’s National Seeurity Section in the USAO’s Crirninal Division on or before August
3, 2015, or a matter in Which the National Seeurity Seetion Was previously involved; (3) a
matter pending in the USAO’s National Seeurity Division on or after September 14,
2016; or (4) a matter in Whieh Assistant United States Attorney Patriclc R. Fitzgerald is or
has been personally involved or on Which he has ersona]ly consulted while employed in
the USAO.

 

DIANA M. KWOK
Assistant United States Attorney

03le

